              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 5:05cr207-4


UNITED STATES OF AMERICA                 )
    Plaintiff,                           )
                                         )
                 v.                      )      FINAL ORDER OF
                                         ) CONTINUING GARNISHMENT
                                         )
JAMES E. FERGUSON, III,                  )
    Defendant,                           )
                                         )
and                                      )
                                         )
E-Z PARKING, INC.,                       )
     Garnishee.                          )
                                        )


      THIS MATTER is before the Court on the Answer of the Garnishee

[Doc. 171].



                         PROCEDURAL HISTORY

      On June 27, 2005, the Defendant was charged by superseding bill of

indictment with conspiracy to defraud the United States, devising a scheme

or artifice to defraud, money laundering, conspiracy to money launder, and

making materially false statements, in violation of 18 U.S.C. §§371, 1341,

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1956(a)(1)(A)(i), 1956(h), & 1001(a)(2). [Doc. 34]. A second superseding bill

of indictment filed on July 27, 2005 added an additional defendant and

charges related to him. [Doc. 43].         The Defendant entered into a plea

agreement with the Government on July 28, 2005 pursuant to which he pled

guilty to conspiracy to defraud in violation of 18 U.S.C. §371. [Doc. 45]. After

the entry of his guilty plea, the Government filed a third superseding bill of

indictment which deleted the Defendant from all counts except the conspiracy

to defraud count, Count One. [Doc. 75].

      On April 19, 2006, the Defendant was sentenced to 8 months

imprisonment and was ordered to pay $120,000.00 in restitution to the victims

of the conspiracy. [Doc. 99]. In addition, he was ordered to pay a $100

assessment. [Id.].

      In August 2009, the Government moved for a writ of garnishment as to

E-Z Parking, Inc. (E-Z) in order to garnish the Defendant’s income. [Doc. 167].

On August 25, 2009, E-Z was notified by writ that it should answer within ten

days of service thereof. [Doc. 170].

      On October 6, 2009, E-Z filed an untimely Answer in which it disclosed

a garnishment by the North Carolina Department of Revenue in the amount

of ten percent of the Defendant’s gross pay per pay period. [Doc. 171]. In the



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Answer, E-Z also disclosed a set-off of $50 per pay period to repay a loan to

E-Z. [Id.]. E-Z did not request a hearing.

       The Defendant did not file any objections to the Answer and did not

request a hearing. The Government also did not file any objections to the

Garnishee’s Answer.



                                 DISCUSSION

       E-Z has disclosed that the Defendant is an employee who is paid on a

bi-weekly basis. [Doc. 171]. His gross wages of $923.08 are subject to a pre-

existing writ of garnishment in favor of the North Carolina Department of

Revenue in the amount of ten percent, or $92.31. [Id.]. United States v.

Doviak, 367 F.Supp.2d 1056, 1060 (N.D.Tex. 2005), quoting United States v.

Pioneer American Insurance Co., 374 U.S. 84, 87, 83 S.Ct. 1651, 10 L.Ed.2d

770) (1963) (“The priority of federal [] liens ... as against liens created under

state law is governed by the common-law rule - ‘the first in time is the first in

right.’”).

       The same may not be said concerning the loan made by E-Z to the

Defendant. In addition to the fact that E-Z’s Answer was untimely, there is

nothing showing that E-Z is a judgment lien creditor. In re Charco, Inc., 432



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F.3d 300, 304 (4 th Cir. 2005) (“[B]efore a judgment lienholder can have priority

over tax lien, she must be a ‘judgment lien creditor’[.]”). The Court therefore

rejects the objection filed by E-Z.

      The Consumer Credit Protection Act (CCPA) contains the following

restriction:

      [T]he maximum part of the aggregate disposable earnings of an
      individual for any workweek which is subjected to garnishment
      may not exceed

               (1) 25 per centum of his disposable earnings for that
               week, or

               (2) the amount by which his disposable earnings for
               that week exceed thirty times the Federal minimum
               hourly wage ... in effect at the time the earnings are
               payable, whichever is less.

15 U.S.C. §1672(a). The Court will therefore apply this provision to the

amount garnished.

                                      ORDER

      IT IS, THEREFORE, ORDERED that a Final Order of Continuing

Garnishment is hereby ENTERED in the amount of $102,953.23, computed

through November 18, 2009, which attaches to any earnings of the Defendant

which remain after all deductions required by law and subject to the

garnishment of the North Carolina Department of Revenue and the maximum



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part of the Defendant’s aggregate disposable earnings for any workweek

which is subject to garnishment may not exceed 25 per centum of his

disposable earnings for that week, or the amount by which his disposable

earnings for that week exceed thirty times the Federal minimum hourly wage

in effect at the time the earnings are payable, whichever is less.

      IT IS FURTHER ORDERED that payments should be made to the

United States Clerk of Court and mailed to the United States Clerk of Court,

401 West Trade Street, Charlotte, N.C. 28202.            Each check shall be

embossed “Court Number 5:05cr207, Defendant James E. Ferguson, III.”



                                      Signed: August 9, 2010




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